               Case 1:10-cr-00313-LJO Document 59 Filed 12/29/11 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MARC DAYS, Bar #184098
     Assistant Federal Defender
 3   Designated Counsel for Service
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 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   RAMON TORRES-ARREOLA
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              No. 1:10-CR-313 LJO
                                           )
12                     Plaintiff,          )             STIPULATION TO ADVANCE HEARING DATE
                                           )             AND RESET FOR CHANGE OF PLEA; ORDER
13         v.                              )
                                           )              Date: January 9, 2012
14   RAMON TORRES-ARREOLA,                 )              Time: 1:00 P.M.
                                           )              Court: Hon. Lawrence J. O’Neill
15                     Defendant.          )
                                           )
16   _____________________________________ )
17
18          IT IS HEREBY STIPULATED, by and between the parties hereto, and through their
19   respective attorneys of record herein, that the trial confirmation hearing in the above-referenced
20   proceedings now scheduled for February 27, 2012, may be advanced to January 9, 2012 at 1:00 P.M.
21   and reset for change of plea.
22          This continuance is requested by counsel for the defendant because a plea agreement has been
23   signed in this matter and the defendant would like to enter his plea as soon as possible.
24   DATED: December 28, 2011                             DATED: December 28, 2011
25   BENJAMIN B. WAGNER                                   DANIEL J. BRODERICK
     United States Attorney                               Federal Public Defender
26
     /s/ Karen Escobar                                     /s/ Marc Days
27   KAREN ESCOBAR                                        MARC DAYS
     Assistant United States Attorney                     Assistant Federal Defender
28   Attorney for Plaintiff                               Attorney for Defendant Ramon Torres-Arreola
                Case 1:10-cr-00313-LJO Document 59 Filed 12/29/11 Page 2 of 2


 1                                                    ORDER
 2           IT IS SO ORDERED. The trial confirmation hearing in the above-referenced proceedings is
 3   hereby advanced to January 9, 2012, at 1:00 P.M., and reset for a change of plea hearing.
 4
 5
 6
     IT IS SO ORDERED.
 7
     Dated:      December 29, 2011                    /s/ Lawrence J. O'Neill
 8   66h44d                                       UNITED STATES DISTRICT JUDGE
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     Stipulation to Advance Hearing Date and
     Reset for Change of Plea; ]Proposed] Order          2
